Case 2:04-cv-02984-BBD-dkv Document 4 Filed 04/25/05 Page 1 of 2 Page|D 12

 

UNITED STATES DISTRICT COURT H 4 d _
WES TERN DISTRICT 0F TENNESSEEGM §§ h~ l

vvz;g]q€lhh]l)l‘&hsl()pJ mi%nlstt\ *!`

Ci-§:.i“u’§ i|;w. 51 .J
‘\FJD CF [\\¢, i`jil\`..¢\fili'_" |'_"H

¥O

3

REGINALD PERKINS JUDGMENT IN A CIVIL CASE
'V' ¢
T.C. OUTLAW CASE NO: 04-2984-])

 

DECISION BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Denying Petition Pursuant to 28 U.S.C. § 2241 entered on April 19,
2005, this cause is hereby dismissed.

AP PROVED :

    

:~,r*";'::?- ,O' '-.-'§
ITED sTATEs DISTRICT coURT L-»iT R- mw

@W/O?z; 2005 @W ,Uw¢./

Da£ e Clerk of Court

 

(BY) Deputy Clerk

Thls documenram¢ered on the docket as ` compa`lan
mm mae 55 and/or 79(&) FcmP on - ila -'O

Y

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02984 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

Reginald Perkins
23600-044

P.O. BOX 34550
Memphis7 TN 38184

Honorable Bernice Donald
US DISTRICT COURT

